      Case 1:25-cv-00352-CJN         Document 88        Filed 06/06/25   Page 1 of 11




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

American Foreign Service Association, et al.,

                      Plaintiffs,

       v.                                       Case No. 1:25-cv-00352

President Donald J. Trump, et al.,

                      Defendants.




                  PLAINTIFFS’ SUPPLEMENTAL BRIEF
  REGARDING D.C. CIRCUIT PROCEEDINGS IN WIDAKUSWARA, ET AL. v. LAKE




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June 6, 2025
          Case 1:25-cv-00352-CJN         Document 88       Filed 06/06/25      Page 2 of 11




                                         INTRODUCTION

          In response to this Court’s May 30 minute order, Plaintiffs submit this supplemental brief

regarding recent D.C. Circuit proceedings related to the government’s motion to partially stay a

preliminary injunction issued in Widakuswara v. Lake, No. 25-cv-1015 (D.D.C.), a case

challenging the dismantling of the U.S. Agency for Global Media (USAGM).

          With respect to administrative channeling, the reasoning of the two judges who formed the

majority of the May 3 motions panel granting that partial stay has no bearing on this Court’s

consideration of the arguments raised in the pending cross-motions for two reasons: First, the May

3 order is not precedential, and the en banc court did not adopt its reasoning. As a majority of

judges on the D.C. Circuit made clear in a May 28 statement regarding en banc reconsideration,

the ability of district courts to order relief related to federal personnel remains an open question—

not just in the Circuit, but even in Widakuswara itself. Second, the government did not seek a stay

of the provision of the Widakuswara injunction that required the Administration to restore

USAGM operations to fulfill the agency’s statutory mandate. Thus, although the district court’s

order to restore terminated USAGM employees and contractors was stayed by the D.C. Circuit, a

provision that may result in substantially similar relief relating to USAGM personnel remains in

effect.

          With respect to Plaintiffs’ request for relief as to the termination of foreign assistance

awards, see ECF No. 51-25 at 2, this Court should consider the May 28 per curiam order of the en

banc court vacating the May 3 order staying the grant-related provisions of two related preliminary

injunctions.
       Case 1:25-cv-00352-CJN           Document 88        Filed 06/06/25      Page 3 of 11




                       PROCEDURAL HISTORY OF WIDAKUSWARA

       USAGM was established by Congress as an independent agency with a mission to “inform,

engage, and connect people around the world in support of freedom and democracy.”

Widakuswara v. Lake, 1:25-cv-1015, 2025 WL 1166400, at *1 (D.D.C. Apr. 22, 2025) (citations

and internal quotation marks omitted). The agency operates six federally funded broadcast

networks, including Voice of America (VOA), Radio Free Asia, and the Middle East Broadcasting

Networks. Id. On March 14, 2025, President Trump issued an executive order calling for the

reduction of activities at USAGM and other governmental entities, and, in the next few days,

USAGM’s leadership took steps to shut down the agency by ceasing radio transmissions, placing

employees on administrative leave, announcing plans to terminate their employment, and

terminating grant agreements with the broadcast networks. Id. at *2–3. A number of legal

challenges followed.

       Michael Abramowitz, the Director of VOA, filed suit in this district, alleging that

dismantling VOA violated the Constitution and the Administrative Procedure Act. Abramowitz v.

Lake, 1:25-cv-887 (D.D.C.). Broadcast networks also filed suit challenging the termination of their

grants. See, e.g., Radio Free Asia v. United States, 1:25-cv-907 (D.D.C.); Middle East Broadcast

Networks, Inc. v. United States, 1:25-cv-966, (D.D.C.).1 All of those cases were assigned to the

Honorable Royce C. Lamberth.

       Meanwhile, Patsy Widakuswara, VOA’s White House Bureau Chief, along with several

other individual and organizational plaintiffs, filed suit in the U.S. District Court for the Southern

District of New York, alleging that the actions to shut down USAGM violated various



1
  Other USAGM networks, Radio Free Europe/Radio Liberty and Open Technology Fund, also
filed suit. RFE/RL v. Lake, No. 25-cv-799 (D.D.C.); Open Technology Fund v. Lake, No. 25-cv-
840 (D.D.C.). The relevant proceedings of the D.C. Circuit, however, do not relate to those suits.

                                                  2
       Case 1:25-cv-00352-CJN            Document 88        Filed 06/06/25     Page 4 of 11




constitutional and statutory provisions. See Widakuswara, 2025 WL 1166400, at *5. That court

granted the plaintiffs’ request for a temporary restraining order, finding that the actions to shut

down USAGM likely violated the Administrative Procedure Act. Widakuswara v. Lake, --- F.

Supp. 3d ----, No. 25-CV-2390, 2025 WL 945869, at *11 (S.D.N.Y. Mar. 28, 2025). A week later,

the court transferred the case to D.C., where it was likewise assigned to Judge Lamberth,

Widakuswara, 2025 WL 1166400, at *6, and briefed on the same schedule as the case brought by

Abramowitz. See Abramowitz v. Lake, No. 1:25-CV-887-RCL, 2025 WL 1176796, at *2 (D.D.C.

Apr. 22, 2025).

          On April 22, the district court granted a three-part preliminary injunction in Widakuswara.

2025 WL 1166400, at *18. The injunction directed the government to 1) “take all necessary steps

to return USAGM employees and contractors to their status prior to the March 14, 2025 Executive

Order . . . including by restoring all USAGM employees and personal service contractors, who

were placed on leave or terminated, to their status prior to March 14, 2025,” 2) “restore the FY

2025 grants” to Radio Free Asia and Middle East Broadcasting Networks, Inc., and 3) “restore

VOA programming such that USAGM fulfills its statutory mandate that VOA ‘serve as a

consistently reliable and authoritative source of news.’” Id. (quoting 22 U.S.C. § 6202(c)). The

same day, the court entered a preliminary injunction in Abramowitz, noting that the relief granted

in the Widakuswara preliminary injunction, which included relief as it related to VOA,

“encompasse[d]” the relief sought by the Abramowitz plaintiffs. 2025 WL 1176796, at *2. Three

days later, the court granted parallel injunctive relief directing restoration of FY 2025 grants in

Radio Free Asia and Middle East Broadcasting. See 1:25-cv-907, ECF No. 25; 1:25-cv-966, ECF

No. 23.




                                                   3
       Case 1:25-cv-00352-CJN           Document 88        Filed 06/06/25      Page 5 of 11




       The government sought interlocutory appeal of the preliminary injunctions in

Widakuswara, Abramowitz, Middle East Broadcasting, and Radio Free Asia. Widakuswara, No.

25-5144 (appeal filed Apr. 24, 2025); Abramowitz, No. 25-5145 (appeal filed Apr. 24, 2025);

Middle East Broadcasting, No. 25-5150 (appeal filed Apr. 25, 2025); Radio Free Asia, No. 25-

5151 (appeal filed Apr. 25, 2025). It also sought a stay pending appeal of the first two provisions—

but not the third provision—of the Widakuswara injunction. See Widakuswara, No. 25-5144 (Apr.

25, 2025, stay motion); Abramowitz, No. 25-5145 (Apr. 25, 2025, stay motion). And it sought a

stay of the injunctions in Middle East Broadcasting and Radio Free Asia in their entirety. See

Middle East Broadcasting, No. 25-5150 (Apr. 26, 2025, stay motion); Radio Free Asia, No. 25-

5151 (Apr. 26, 2025, stay motion).

       On May 3, a divided motions panel of the D.C. Circuit granted the government’s motions

for stay pending appeal in all four cases. Widakuswara, No. 25-5144, 2025 WL 1288817 (D.C.

Cir. May 3, 2025). The panel majority concluded that the district court “likely lacked jurisdiction”

over personnel decisions and that USAGM employees and contractors must pursue any “viable,

discrete claims with respect to their individual personnel actions” through “other remedial

channels,” leading the panel to stay the first provision of the Widakuswara injunction restoring

USAGM personnel to their pre-March 14 status. Id. at *2–3. The panel majority also concluded

that the Tucker Act likely deprived the district court of jurisdiction to restore grant funding to

Radio Free Asia and Middle East Broadcasting Networks, leading the panel to stay the second

provision of the Widakuswara injunction, as well as the preliminary injunctions in Middle East

Broadcasting and Radio Free Asia. Id. at *3; see also id. at *1 (granting the stay in Abramowitz

“to the extent the relief granted falls within provisions (1) and (2)” of the Widakuswara injunction).




                                                  4
       Case 1:25-cv-00352-CJN           Document 88        Filed 06/06/25      Page 6 of 11




       The plaintiffs sought en banc reconsideration and vacatur of the May 3 order.

Widakuswara, No. 25-5144 (May 5, 2025, en banc petition). With respect to the first provision of

the Widakuswara injunction, concerning personnel, the D.C. Circuit issued a May 22 per curiam

order denying en banc reconsideration. Widakuswara v. Lake, No. 25-5144, 2025 WL 1556440

(D.C. Cir. May 22, 2025). That order provided that further explanatory statements would follow,

and two such explanatory statements respecting the denial of reconsideration en banc were issued

on May 28—one by Chief Judge Srinivasan, joined by six other judges, and another by Judge

Pillard. See Ex. 1 (May 28 Explanatory Statements). Noting the interaction between the first and

third provisions of the Widakuswara injunction, Chief Judge Srinivasan’s statement for a majority

of the D.C. Circuit explained that the denial of en banc reconsideration of the May 3 stay order

should “not be understood to accept or treat with” the government’s assertion that the personnel-

related relief under the unappealed third injunctive provision is limited to that which the

government deems necessary or appropriate to fulfill its statutory mandate. Id. at 3. Instead,

“insofar as the issue [of personnel-related relief] may arise in further proceedings in the district

court, that court presumably would consider it in the first instance.” Id. Judge Pillard separately

stated that she “remain[ed] convinced that the panel should not have entered an emergency stay of

the district court’s preliminary injunction,” but that “the standard for the full court’s intervention

is unmet because nothing in the panel’s stay order prevents the district court from enforcing the

unchallenged prong 3 of the injunction.” Id. at 4.

       Also on May 28, the D.C. Circuit granted en banc reconsideration and vacated the stay

order as to the Radio Free Asia and Middle East Broadcasting injunctions, concluding that the

government was unlikely to succeed on its Tucker Act challenge to the grant-related aspects of

Judge Lamberth’s orders. Widakuswara, 2025 WL 1521355, at *1 (D.C. Cir. May 28, 2025) (per




                                                  5
       Case 1:25-cv-00352-CJN           Document 88        Filed 06/06/25      Page 7 of 11




curiam). The court denied reconsideration of the May 3 order staying the second provision of the

Widakuswara injunction, related to grants, however, because the Widakuswara plaintiffs had

asserted that their injuries arising from the May 3 order were “entirely derivative of the suspension

of monthly grant payments to Radio Free Asia.” Id. at *2. For that reason, the vacatur in Radio

Free Asia “addresse[d] those asserted injuries.” Id.

                                          ARGUMENT

       This Court’s minute order asked the parties to address “whether and to what extent the

motions panel’s decision is binding on the Court in light of its procedural posture.” As an

unpublished opinion, the May 3 motions panel order is not binding on this Court. Indeed, the en

banc court suggested that the panel’s order is not binding on future proceedings in Widakuswara—

let alone other cases in the Circuit. Nonetheless, the en banc court’s holding that the government

had not made the requisite strong showing of a likelihood of success on the merits of its appeals

with respect to the aspect of the injunctions concerning the unlawful termination of grants is

instructive here and supports Plaintiffs with respect to the motions pending in this case.

I.     The order of the motions panel does not bind this Court.

       Under the local rules of the D.C. Circuit, “a panel’s decision to issue an unpublished

disposition means that the panel sees no precedential value in that disposition.” D.C. Cir. R.

36(e)(2). Consistent with that rule, unpublished opinions are not binding circuit precedent. In re

Grant, 635 F.3d 1227, 1232 (D.C. Cir. 2011) (holding that “unpublished dispositions should not

strictly bind panels of the court”); Taylor v. FDIC, 132 F.3d 753, 761 (D.C. Cir. 1997) (“The order

of the motions panel went unpublished and will bind no panel of this court in any other case.”).

The panel decision here has not been published. Therefore, no aspect of the May 3, 2025, decision

of the motions panel in Widakuswara is binding on this Court. See S. Educ. Found. v. United States




                                                 6
       Case 1:25-cv-00352-CJN            Document 88         Filed 06/06/25       Page 8 of 11




Dep’t of Educ., No. 1:25-cv-01079, 2025 WL 1453047, at *11 (D.D.C. May 21, 2025) (declining

to follow the reasoning of the Widakuswara panel).

II.     A majority of the judges on the D.C. Circuit took no position on district courts’
        jurisdiction to order relief related to federal personnel.

        Further, no aspect of the proceedings before the D.C. Circuit in Widakuswara affects this

Court’s ability to order relief related to federal personnel. To start, the government did not seek to

stay the third provision of the Widakuswara preliminary injunction, which ordered the government

to restore programming “such that USAGM fulfills its statutory mandate that VOA ‘serve as a

consistently reliable and authoritative source of news.’” Widakuswara, 2025 WL 1166400, at *18

(quoting 22 U.S.C. § 6202(c)); see also Ex. 1 at 4. This provision has remained in place during the

litigation on the stay. Plaintiffs request similar relief here for similar reasons, arguing that Congress

established USAID as a federal agency separate from the State Department under the Foreign

Service Reform and Restructuring Act of 1998; that that statute afforded the President a limited

window of time, now expired, in which he could abolish or restructure the agency; and that

unilaterally abolishing the agency now expressly violates the statute. Therefore, Plaintiffs seek an

injunction prohibiting Defendants from shutting down USAID’s operations in a manner not

authorized by Congress. See ECF No. 51-1 at 21–22; ECF No. 51-25 at 3. This Court’s ability to

grant that relief is not constrained in any way by the D.C. Circuit proceedings in Widakuswara,

which did not concern a critical component of the preliminary injunction in that case.

        Further, while denying en banc reconsideration of the May 3 panel order staying the first

provision of the preliminary injunction, a majority of the judges on the D.C. Circuit expressly

noted that the panel’s order did not, as the government urged, resolve whether the district court

had authority under the third provision of the Widakuswara injunction (as to which the government

did not seek a stay) “to order personnel actions” beyond those that the government itself deems



                                                   7
       Case 1:25-cv-00352-CJN           Document 88        Filed 06/06/25      Page 9 of 11




necessary or appropriate to carry out USAGM’s statutory mandate. Ex. 1 at 3 (quoting Govt. En

Banc Response at 7). In other words, the D.C. Circuit, in declining to vacate the motions panel’s

stay order as to the injunction’s first provision, explicitly declined to endorse the motions panel’s

analysis as to the scope of the district court’s authority to rule on personnel-related matters

generally. Rather, Chief Judge Srinivasan’s statement made clear that it remained for the district

court to consider “in the first instance” its own authority to craft personnel-related relief in order

to effectuate the injunction’s unstayed third provision. Id.; see also Ex. 1 at 4–5 (statement of

Judge Pillard respecting denial of en banc consideration, noting that “this court has not limited the

district court’s remedial options going forward”). This aspect of the statement reflects that a

majority of D.C. Circuit judges were not persuaded by the motions panel’s conclusion that the

district court likely lacked jurisdiction to “enjoin USAGM’s personnel actions” in any way

whatsoever. Widakuswara, 2025 WL 1288817, at *2. Plaintiffs maintain that personnel decisions

made to effectuate an agency shutdown are different in kind from those individual personnel

decisions that would be channeled in the normal course, and the majority of D.C. Circuit judges

have explicitly stated that this question remains open for district courts to decide in the first

instance.

III.   The en banc court determined that the government was unlikely to succeed in its
       challenge to the grant-related aspects of the preliminary injunctions.

       This Court should take into consideration the reasoning in the en banc court’s conclusion

that the government is unlikely to succeed on its Tucker Act challenge to the grant-related aspects

of Judge Lamberth’s orders. See Widakuswara, 2025 WL 1521355, at *1

       In their memorandum in support of their motion to dismiss in this case, Defendants argued

that Plaintiff Oxfam lacked standing to challenge the dissolution of the agency because the Tucker

Act would channel a claim for any relief that Oxfam could seek as to agency funding to the Court



                                                  8
      Case 1:25-cv-00352-CJN           Document 88        Filed 06/06/25       Page 10 of 11




of Federal Claims. See ECF No.70-1 at 21–22; ECF No. 83 at 6–7. As Plaintiffs explained, that

argument is misplaced because Oxfam does not assert that it held foreign assistance awards that

were suspended or terminated by Defendants and certainly does not seek monetary relief as to any

awards. Rather, Oxfam has undisputedly established that its “injuries cannot be redressed unless

USAID is functional because Oxfam relies on the expertise and logistical assistance of USAID

personnel to perform its work.” ECF No. 74 at 7.

       As to this aspect of the government’s argument in this case, the May 28 order of the en

banc D.C. Circuit vacating the May 3 panel order staying the grant-related portions of Judge

Lamberth’s orders, Widakuswara, 2025 WL 1521355, at *1, is instructive. There, the en banc court

determined that the government was unlikely to succeed in its argument that the Tucker Act

precluded the district court’s jurisdiction in Middle East Broadcasting and Radio Free Asia—two

cases in which plaintiffs sought restoration of terminated grants. Id. The en banc court reached that

conclusion “substantially for the reasons explained by Judge Pillard” in her dissent from the May

3 panel order, id., which in turn explained that the plaintiffs’ claims in those cases “did not depend

on whether their contracts were breached, but on whether the agency’s policy directives were

unlawful in the face of federal statutes appropriating funds for specific purposes,” Widakuswara,

2025 WL 1288817, at *14(Pillard, J., dissenting).

       If the government is not likely to succeed in its Tucker Act arguments in Middle East

Broadcasting and Radio Free Asia, it is even less likely to succeed here. As Defendants concede,

Oxfam “does not purport to have a contract-based claim against Defendants.” ECF No. 83 at 6.

The Tucker Act therefore presents no jurisdictional barrier to affording Plaintiffs the relief they

request, including restoration of the functionality of the agency by restoring the ability of

implementing partners to perform USAID work through rescinding cancellations, terminations,




                                                  9
      Case 1:25-cv-00352-CJN            Document 88         Filed 06/06/25      Page 11 of 11




suspensions, and stop-work orders the agency issued with respect to contracts, grants, cooperative

agreements, and other awards. ECF No. 51-25 at 2.

                                          CONCLUSION

       The proceedings before the D.C. Circuit in Widakuswara do not alter this Court’s ability

to grant the relief Plaintiffs request and, instead, are consistent with Plaintiffs’ requested relief. A

majority of judges on the D.C. Circuit declined to opine on the district court’s authority to order

personnel actions that would restore the capacity of USAGM to fulfill its statutory function—relief

similar to the relief requested by Plaintiffs here—leaving that decision to the district court in the

first instance. In addition, the en banc D.C. Circuit determined that the government was unlikely

to succeed in its argument that the Tucker Act precluded jurisdiction in cases related to the

restoration of federal grants. That aspect of the en banc court’s order is instructive here.

 Dated: June 6, 2025                            Respectfully submitted,

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                                                  10
